     Case 2:10-cv-14318-LPZ-MJH ECF No. 7, PageID.12 Filed 02/23/11 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


STEVEN LAINE,

         Plaintiff,
                                                                Case No. 10-14318
v.                                                              Hon. Lawrence P. Zatkoff


ZENITH ACQUISITION CORP.,

         Defendant,

                                  /


                                               ORDER

         This matter is before the Court on the Court’s order for Plaintiff to show cause as to why this

case should not be dismissed for failure to prosecute [dkt 4]. Plaintiff timely responded to the

Court’s show-cause order, stating that the parties reached a settlement of this matter and submitting

a notice of dismissal of the case with prejudice. See Fed. R. Civ. P. 41(a)(1) (“[T]he plaintiff may

dismiss an action without a court order by filing . . . a notice of dismissal before the opposing party

serves either an answer or a motion for summary judgment . . . .”). Accordingly, IT IS HEREBY

ORDERED that the Court’s show-cause order [dkt 4] is WITHDRAWN. This case is now closed.

         IT IS SO ORDERED.

                                                S/Lawrence P. Zatkoff
                                                LAWRENCE P. ZATKOFF
                                                UNITED STATES DISTRICT JUDGE
 Case 2:10-cv-14318-LPZ-MJH ECF No. 7, PageID.13 Filed 02/23/11 Page 2 of 2




Dated: February 23, 2011

                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of this Order was served upon the attorneys of record
by electronic or U.S. mail on February 23, 2011.


                                             S/Marie E. Verlinde
                                             Case Manager
                                             (810) 984-3290




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